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                         Exhibit 1
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                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF VIRGINIA
                                                Alexandria Division




       QUILL INK BOOKS,LIMITED

                                  Plaintiff,

                V.                                                         Case No. I:I9-cv-476


       RACHELLE SOTO a/k/a Addison Cain.

                                  Defendant.



                                                AMENDED ORDER


           This matter comes before the Court on Defendant's Motion to Dismiss. Dkt. 9. The

  Motion is fully briefed and the Court held oral argument on July 12,2019. For the following

  reasons the Motion is granted in part and denied in part.'

                                                    I. Background

           This case arises from a dispute between two authors of romance novels. Defendant and

  her publisher have accused Plaintiffs Myth of Omega series, written under the "Zoey Ellis"

  pseudonym, of plagiarizing Defendant's novels and have sent DMCA takedown notices to

  publishers regarding Plaintiffs novels. PlaintifT sued both Defendant and her publisher.

  Blushing, in federal court in Oklahoma but Defendant was dismissed from that case on personal

  jurisdiction grounds. Plaintiff then filed the present suit, asserting an intentional DMCA

  violation, asserting state law claims, seeking a declaratory Judgment, and arguing that Plaintiffs
  publisher. Blushing, must be joined as a necessary party. Defendant moved to dismiss all claims



  'This order relates to an Order originally dated August 9, 2019, Dkt. 23, and corrects inadvertent errors in the
  original Order.

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